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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

  STATE OF FLORIDA,                          )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )
                                             )
  XAVIER BECERRA, Secretary of               )
  Health and Human Services, in his          )
  official capacity; HEALTH AND              ) Case No.: 8:21-CV-839-SDM-AAS
  HUMAN SERVICES; ROCHELLE                   )
  WALENSKY, Director of Centers for          )
  Disease Control and Prevention, in         )
  her official capacity; CENTERS FOR         )
  DISEASE CONTROL AND                        )
  PREVENTION; UNITED STATES                  )
  OF AMERICA,                                )
                                             )
        Defendants.
  ___________________________________

      STATE OF ALASKA’S AMENDED MOTION TO INTERVENE

       The State of Alaska requests that it be granted permission to intervene

 in support of plaintiff, the State of Florida, pursuant to Federal Rule of Civil

 Procedure 24(b). This litigation concerns the legality of orders, restrictions

 and guidance issued by the Centers for Disease Control and Prevention

 (“CDC”) or to be issued by the CDC. Congress has recently passed a law that

 is specific to large cruise ships visiting Alaska in 2021 and requires those

 cruise ships to comply with the CDC’s orders, restrictions and guidance,


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 whatever they may be at the time of sailing. The CDC has been rapidly

 changing its restrictions and guidance over the past few weeks, apparently in

 direct response to this litigation. The nature of those restrictions and

 guidance may affect the number of cruise ships and passengers that visit

 Alaska in 2021, which directly impacts the revenues of the State of Alaska

 and many of its port communities, and indirectly affects the overall economic

 health of the State and its citizens. Therefore, Alaska seeks permissive

 intervention to protect its interests in the CDC’s constantly-morphing orders,

 restrictions and guidance which will apply to all large Alaska cruises in 2021.

                                BACKGROUND

       In March 2020, the CDC issued the first of a series of No Sail Orders

 shutting down the cruise industry in the United States. 60 Fed. Reg. 16628.

 The order applied to passenger vessels with a capacity of 250 or more

 operating in U.S. waters with an overnight itinerary. Id. The CDC renewed

 the No Sail Order in separate orders issued on April 9, July 16, and

 September 30, 2020. See 85 Fed. Reg. 21004, 85 Fed. Reg. 44085, 85 Fed. Reg.

 62732. From March through September of 2020, also in response to the




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 pandemic, for the most part the cruise industry voluntarily ceased cruising. 1

 As a result, Alaska’s 2020 cruise season was canceled. 2

       On October 31, 2020, the CDC issued a “Conditional Sail Order” that

 promised a “phased resumption of cruise ship passenger operations.” 85 Fed.

 Reg. 70153. The initial phase consisted of testing and additional safeguards

 for crew members while the CDC ensured operators build the laboratory

 capacity needed to test future passengers. Id. Subsequent phases would

 include simulated voyages, certification for ships that meet specific

 requirements, and a phased return to passenger voyages. Id.

       On April 2, 2021, the CDC issued technical guidance for phase 2a of its

 phased approach. 3 This guidance was completely unworkable, as a practical



 1      See Cruise Lines International Association, “Update On Cruise Industry
 Response To COVID-19 (Global)” (April 21, 2020) (describing members’ voluntary
 suspension of cruising worldwide since mid-March, 2020) (available online at:
 https://cruising.org/en/news-and-research/press-room/2020/april/clia-covid-19-
 toolkit); Cruise Lines International Association, “CLIA Announces Voluntary
 Suspension of Cruise Operations from U.S. Ports (USA)” (describing members’
 ongoing voluntary suspension of cruising in the U.S. through September, 2020)
 (available online at https://cruising.org/en/news-and-research/press-
 room/2020/june/clia-announces-voluntary-suspension-of-cruise-operations-from-us-
 ports”).
 2      See James Brooks, Alaska’s Last Remaining Big-Ship Cruises of 2020 Have
 Been Canceled, July 6, 2020, Anchorage Daily News (July 6, 2020) (available online
 at https://www.adn.com/business-economy/2020/07/06/alaskas-last-remaining-big-
 ship-cruises-of-2020-have-been-canceled/).
 3     U.S. Centers for Disease Control and Prevention, “CDC Issues Next Phase of
 the Conditional Sail Order for Cruise Ship Operators” (April 2, 2021) (available
 online at https://www.cdc.gov/media/releases/2021/s0402-conditional-sail-
 orders.html).

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 matter, to allow for an Alaska cruise season. 4 Cruising in Alaska is seasonal,

 and the vast majority of cruises visit between May and September. Ex. 1 at 5 5

 The CDC’s guidance called for a lengthy process for cruise ships to complete

 “simulated voyages” and receive CDC approval before beginning passenger

 operations, and did not include any technical guidance about how to conduct

 those simulated voyages or passenger operations. 6 [Dkt. 9-13, 9-14]

 Furthermore, before undergoing “simulated voyages,” it required cruise lines

 to enter into agreements with each port of call for onshore housing, medical

 and other services that were impractical, if not impossible, for Alaska’s

 smaller ports to provide—despite the fact that large ports very nearby could

 provide those services. [Dkt. 9-13 at 2, Dkt. 19-1 at 5-6]

       Shortly after this unworkable guidance was issued, the State of Florida

 filed this lawsuit and the State of Alaska moved to intervene. [Dkt. 1, Dkt. 8]


 4     See State of Alaska, Office of the Governor, “Report to White House: Alaska
 Economy Devastated by CDC Decision on Cruise Ships,” (April 8, 2021) (available
 online at https://gov.alaska.gov/newsroom/2021/04/08/report-to-white-house-alaska-
 economy-devastated-by-cdc-decision-on-cruise-ships/).
 5      Exhibit 1 [Dkt. 8–1] is the Federal Maritime Commission’s “Fact Finding
 Investigation No. 30, COVID-19 Impact on Cruise Industry, Interim Report:
 Economic Impact of COVID-19 on the Cruise Industry in Alaska, Washington, and
 Oregon” dated October 20, 2020 and available online at
 https://www2.fmc.gov/readingroom/docs/FFno30/2020_AK_WA_OR_FF30_Final_Int
 erim_Report.pdf/).
 6      Exhibits 13 and 14 to Florida’s Motion for Preliminary Injunction show the
 state of the guidance available as of April 2, 2020. The CDC has continually
 updated its website as new guidance becomes available, so the state of the guidance
 as of April 2, 2020 is no longer available on the CDC’s website.

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 Florida also filed a Motion for Preliminary Injunction which the State of

 Alaska supported in an amicus brief. [Dkt. 9, Dkt. 19-1]

       After Florida filed its motion and Alaska filed its amicus brief, the CDC

 issued a “dear colleague” letter to the cruise industry significantly changing

 its position with regard to simulated voyages and port agreements. [Dkt. 31-

 3] That letter stated that simulated voyages would not be required for vessels

 that could confirm that 98% of crew and 95% of passengers were fully

 vaccinated against COVID-19. Id. at 5. The letter also changed the CDC’s

 position with regard to two issues specifically raised by Alaska in its amicus

 brief. [Dkt. 19-1 at 5-6, 10-11] First, it stated that the CDC would accept

 multi-port agreements, particularly “if one port has limited medical or

 housing capacity and a nearby port is able to supplement these capacities.”

 [Dkt. 31-3 at 3] Second, the CDC partially changed its position regarding

 whether cruise operators could test for COVID-19 using lower-cost antigen

 tests rather that higher-cost PCR tests by allowing for antigen tests for fully-

 vaccinated crew. Id. at 5.

       On May 5, the same day that its opposition to Florida’s Motion for

 Preliminary Injunction was due, the CDC issued extensive new guidance




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 regarding simulated voyages and passenger voyages. 7 [Dkt. 31-1 at 25, Dkt.

 31-4] On May 11, the day before oral argument on Florida’s Motion for

 Preliminary Injunction, the CDC again issued new guidance easing making,

 shore leave, and testing requirements for voyages with vaccinated passengers

 and crew. 8 The CDC has continued to issue new guidance and update prior

 guidance on an almost weekly basis since then, including on May 14 and 18. 9

 Most recently, it updated its guidance on the day before mediation in this

 case was scheduled to take place, further easing masking rules for vaccinated

 passengers. 10

       Other than complying with the CDC’s mandates, there was an

 additional obstacle to resumption of cruising in Alaska. All large cruise ships


 7      U.S. Centers for Disease Control and Prevention, “CDC Issues Phases 2B and
 3 of the Conditional Sailing Order” (May 5, 2021) (available online at
 https://www.cdc.gov/media/releases/2021/s0505-conditional-sailing-order.html).
 8      Because the CDC’s online guidance document has been updated multiple
 times since May 12, the version as it appeared on May 12 is no longer available
 online. However, the change was widely documented at the time. See, e.g. The
 Maritime Executive, “CDC Updates Guidance as Judge Hears Arguments in
 Florida’s Case” (April 12, 2021) (available online at https://www.maritime-
 executive.com/article/cdc-updates-guidance-as-judge-hears-arguments-in-florida-s-
 case); “CDC lifts some mask rules for fully vaccinated cruise passengers,” The
 Washington Post, (April 12, 2021) (available online at
 https://www.washingtonpost.com/travel/2021/05/12/cruise-mask-rules-covid-cdc/).
 9     See https://www.cdc.gov/quarantine/cruise/covid19-operations-manual-
 cso.html (listing “recent updates” of May 14, 18 and 26) (last visited June 1, 2021).
 10     Id. (describing May 26 update as follows: “Provided cruise ship operators
 with more discretion regarding fully vaccinated travelers. Provided additional
 discretionary considerations for ships with at least 95% of crew and 95% of
 passengers fully vaccinated.”)

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 that visit Alaska are foreign flagged, and the Passenger Vessel Services Act

 requires that foreign-flagged vessels stop in a foreign port on itineraries that

 visit U.S. ports. 46 U.S.C. § 55103 Alaska cruises have generally met this

 requirement by including a Canadian stop in their itineraries. Ex. 2 at 1. 11

 However, in response to the pandemic, Canada has closed its ports to cruise

 ships through February of 2022. [Dkt. 46-11]

       On May 24, President Biden signed into law the Alaska Tourism

 Restoration Act which makes a temporary exemption to the laws requiring

 Alaska-bound cruises to stop in Canada, provided that each Alaskan cruise

 ship meet certain conditions. P.L. 117-14, 135 Stat. 273 (May 24, 2021) One

 of the conditions specifically placed on Alaskan ships is that the ship

       (A) has been issued, operates in accordance with, and retains a
       COVID–19 Conditional Sailing Certificate of the Centers for
       Disease Control and Prevention; and
       (B) operates in accordance with any restrictions or guidance of
       the Centers for Disease Control and Prevention associated with
       such Certificate, including any such restrictions or guidance
       issued after the date of enactment of this Act. Id.

       After passage of this Act, several cruise lines scheduled and began to

 market Alaska cruises for vaccinated passengers for late July-September of




 11    Exhibit 2 [Dkt. 8-2] is a report by the Alaska Department of Revenue, et al.,
 “Impacts to Alaska from 2020/2021 Cruiseship Season Cancellation” dated April 9,
 2021 and available online at https://gov.alaska.gov/wpcontent/
 uploads/sites/2/04082021-Cruise-Impacts-to-Alaska.pdf).

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 2021. 12 On information and belief, none of those cruise ships has yet received

 a Conditional Sailing Certificate from the CDC. On information and belief,

 the CDC has not yet approved any port or multi-port agreements for Alaskan

 ports scheduled to receive a visit from those cruise ships. Also on information

 and belief, the CDC will continue to issue new guidance and update prior

 guidance in the following weeks and months.

       The State of Alaska benefits both directly and indirectly from the cruise

 industry. Direct revenue that the State of Alaska receives from cruise lines

 includes a per-passenger tax which the State which passes on to port-of-call

 municipalities. A.S. 43.52.200 et seq. It also includes environmental

 compliance fees that the State of Alaska receives directly from cruise lines.

 AS 46.03.480. The State of Alaska also receives revenue directly from cruise

 visitors, from such sources as non-resident hunting and fishing licenses, state

 park fees, and so forth. [Ex. 2 at 5]

        On a macro level, cruising forms an important part of Alaska’s

 economy. The cruise industry and the visitors it serves account for

 approximately $3.0 billion of the state’s economy. [Ex. 2 at 2] Although this

 may not seem significant when compared to the size of Florida’s industry, it


 12     James Brooks, Biden signs Alaska cruise ship bill as more cruise lines
 announce summer sailings, Anchorage Daily News (May 24, 2021) (available online
 at https://www.adn.com/politics/2021/05/24/biden-signs-alaska-cruise-ship-bill-as-
 more-cruise-lines-announce-summer-sailings/).

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 is a very significant amount for Alaska. As stated in an Interim Report issued

 by the Federal Maritime Commission in October 2020, regarding the

 cancelation of Alaska’s 2020 cruise season:

       In the case of Alaska, there exists an outsized economic impact
       from the cessation of cruise activity. While the symptoms are the
       same as in other parts of the United States, the impact is much
       greater because of Alaska’s distance and economic reliance on the
       tourism industry and, at the micro level, the almost total reliance
       of some small towns (and native Alaskans) on the income
       generated by cruise tourism. [Ex. 1 at 4]

       Alaska’s port and cruise line related communities lost 22,297 jobs in

 2020 equating to over $305.7 million in lost wages. [Ex. 2, at 7] These lost

 wages and lost jobs impact Alaska by depleting the state’s Unemployment

 Reserve Trust. Id. In February 2020, the balance of this trust was $492.9

 million; in March 2021, the balance of the trust was $265.8 million. Id. Of

 this $227 million loss, $29.8 million is directly attributed to the cruise

 industry. 13 Id.

       The total amount of direct loss to the State of Alaska resulting from the

 cancellation of the 2020 season was well in excess of one billion dollars, but



 13     This was determined through analysis of change in unemployment claims
 from port-of-call communities where employment is heavily dependent on tourism
 in the first three quarters of 2020 (when Alaska cruise season employment takes
 place), and corroborated by job loss surveys in those communities and analysis of
 cruise industry employment in Alaska in 2019. [Ex. 2 at 8-9] The significant job loss
 in these communities related to the cancellation of the 2020 cruise season was also
 documented by the Federal Maritime Commission in its report. [Ex. 1 at 13, 21, 24,
 29]

                                           9
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 the impact to Alaska’s communities was even greater. [Ex. 2 at 2] The loss of

 the 2020 season had a particularly negative impact in Southeast Alaska,

 where the economies of many communities are entirely dependent upon

 tourism. Id. at 1. Interior Alaska also suffered from the loss of last year’s

 cruise season. It is estimated that over 160,000 cruise passengers would have

 visited interior Alaska last summer—an area that includes places like Denali

 National Park and Fairbanks. Id.

       The partial resumption of cruising during the second half of Alaska’s

 short cruise season would be a great relief to Alaska, its port communities,

 and its citizens. 14 But the gains are fragile, and incomplete. 15 The more cruise

 ships and the more cruise passengers that visit Alaska this summer, the

 better for Alaska, its affected municipalities, and its citizens.




 14     State of Alaska, Office of the Governor, “Alaska Public/Private Partnership
 Saves 2021 Cruise Season” (May 27, 2021) (available online at
 https://gov.alaska.gov/newsroom/2021/05/27/alaska-public-private-partnership-
 saves-2021-cruise-season/).
 15     Liz Ruskin, New rules allow cruises in Alaska. Here’s why the season will still
 be slow, Alaska Public Media (May 21, 2021) (available online at
 https://www.alaskapublic.org/2021/05/21/new-rules-allow-cruises-in-alaska-but-
 tourism-businesses-remain-in-limbo/).

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                                      ARGUMENT

        Given recent developments, Alaska no longer seeks intervention as a

 matter of right under Federal Rule of Civil Procedure 24(a). However, given

 Alaska’s material interests in the outcome of this litigation, and the CDC’s

 constantly-evolving position apparently in response to events in this lawsuit,

 Alaska respectfully requests that this Court grant it permissive intervention

 under Federal Rule of Civil Procedure 24(b).

       The Court may grant permissive intervention to a party who, on timely

 motion, asserts “a claim or defense that shares with the main action a

 common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). This is wholly

 discretionary, but in exercising its discretion, the Court will consider

 “whether the intervention will unduly delay or prejudice the adjudication of

 the original parties’ rights.” Id.

       Under the terms of the Alaska Tourism Restoration Act, cruise ships

 visiting Alaska during the 2021 season will be required to obtain a

 Conditional Sailing Certificate from the CDC and abide by all CDC

 restrictions or guidance related to cruise ships, including restrictions or

 guidance issued after passage of the Act. P.L. 117-14, 135 Stat 273 (May 24,

 2021) Given the CDC’s recent and frequent changes to that guidance,

 apparently made in direct response to this lawsuit, it is reasonable to assume



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 that the CDC will continue to issue new guidance, and that this lawsuit will

 continue to affect its decisions, and the timing of those decisions.16

       The restrictions and guidance issued by the CDC may materially affect

 the number of ships that visit Alaska in 2021 and/or the number of

 passengers who decide to book cruises on those ships. For example, if the

 CDC imposes onerous requirements, fewer people may choose to cruise to

 Alaska due to the difficulty or discomfort of complying with these

 requirements. 17 Finally, the CDC has not yet actually issued any Conditional



 16     It is important to recognize that the CDC has changed its position in
 response to litigation events in this matter, not in response to court orders. For
 example, just days after Alaska’s amicus brief raised the impracticability of port
 agreements with small Alaskan ports, the CDC changed its position to allow for
 multi-port agreements. [Dkt. 19-1 at 5-6, Dkt. 31-3 at 3] Thus, Alaska’s ongoing
 participation in this litigation may be essential to protect Alaska’s interests in the
 CDC’s constantly-evolving process of issuing guidance.
 17     For example, as of the morning of May 26, which was the day before
 mediation in this case was scheduled to take place, CDC guidance still required all
 cruise passengers to be masked while indoors on cruise ships, except in their cabins
 and for brief periods to eat and drink, regardless of their vaccination status. This
 was despite the fact that the CDC had previously issued a general statement that
 vaccinated people can safely unmask indoors in essentially all other scenarios. See
 https://www.cdc.gov/coronavirus/2019-ncov/vaccines/fully-vaccinated.html. Some in
 the cruise industry expressed concern that this type of requirement would lead
 vaccinated consumers to choose other types of vacations or non-U.S. cruises, where
 they could be unmasked. See, e.g. The Cruise Hive, “The New Unrealistic CDC
 Rules Everyone is Talking About” (May 7, 2021) (quoting Norwegian Cruise Line
 CEO Frank Del Rio as stating, “I mean, can you imagine having to take on your
 mask and take off your mask in between bites of your meal or in between sips of a
 drink? It’s absurd. It doesn’t happen anywhere else in the world, anywhere else
 besides the United States”) (available online at https://www.cruisehive.com/the-
 new-unrealistic-cdc-rules-everyone-is-talking-about/50551). On the night before
 mediation, the CDC changed its guidance to allow vaccinated passengers to be
 unmasked in most indoor cruise ship settings at the discretion of the cruise
                                            12
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 Sailing Certificates, or approved any port agreements, for scheduled Alaska

 cruises so uncertainty remains.

       Alaska’s interests are also affected to the extent that Florida and the

 CDC will litigate, and this Court will consider, the meaning and effect of the

 Alaska Tourism Restoration Act. The CDC has recently filed a motion for

 leave to submit an additional brief regarding the impact of the Alaska

 Tourism Restoration Act on Florida’s preliminary injunction motion and

 suggests that if this Court issues an injunction, that injunction would “end

 cruising in Alaska for the season.” [Dkt. 67 at 3] The State of Alaska firmly

 disagrees with that analysis, and Rule 24(b) permissive intervention is

 appropriate to allow Alaska to protect its interests in this ongoing litigation

       Thus, due to the unique nature of the Alaska Tourism Restoration

 Act—which affects only Alaska-bound cruises and not Florida or Texas-based

 cruises—Alaska’s interests materially differ from Florida’s and Texas’s.

 Conditions in Alaska are also very different from conditions in Florida and

 Texas in other respects [Dkt. 8 at 20-22], and this Court would benefit from

 Alaska’s perspective on the CDC’s nation-wide order. Consideration of

 Alaska’s unique circumstances would contribute to, rather than impede, a




 operator. See https://www.cdc.gov/quarantine/cruise/covid19-operations-manual-
 cso.html.

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 reasoned determination of this action. See League of Women Voters of Fla. v.

 Detzner, 283 F.R.D. 687, 688 (N.D. Fla. 2012).

       Thus, this Court should allow Alaska to intervene on a permissive basis

 to protect its unique interests. Alaska’s intervention would neither prejudice

 the existing parties nor unduly delay the proceedings. The CDC has yet to

 answer the State of Florida’s complaint, and Texas’s motion to intervene has

 yet to be resolved. Alaska has limited its request for relief to declaratory

 judgment, so there is no danger of duplicative preliminary injunction motion

 practice if Alaska is allowed to intervene. It is appropriate to apply Federal

 Rule of Civil Procedure 24(b) to Alaska under these circumstances.

       Dated June 2, 2021.

                                      TREG R. TAYLOR
                                      ATTORNEY GENERAL

                                      By:    /s/ Lael A. Harrison
                                             Lael A. Harrison
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                                             Attorneys for the State of Alaska




                       Local Rule 3.01(g) certification

       Pursuant to Local Rule 3.01(g), counsel for the State of Alaska has

 conferred with counsel for plaintiff and plaintiff does not oppose this motion.

 Counsel for the State of Alaska has also conferred with counsel for

 Defendants who take no position at present and reserve the right to oppose

 after review of the amended motion and amended complaint.


                                      /s/ Lael A. Harrison
                                      Lael A. Harrison




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                        CERTIFICATE OF SERVICE

       I certify that on June 2nd, 2021 a true and correct copy of the foregoing

 was filed with the Court’s CM/ECF system, which provides notice to all

 parties.

                                                  /s/ Lael A. Harrison
                                                  Lael A. Harrison




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